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 6                              UNITED STATES DISTRICT COURT
 7                            SOUTHERN DISTRICT OF CALIFORNIA
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 9   IN RE: PACKAGED SEAFOOD                               Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                           ORDER OVERRULING SYSCO
11                                                         CORPORATION AND US FOOD
                                                           INC.’S OBJECTION TO THE
12
                                                           MAGISTRATE JUDGE’S ORDER
13                                                         (ECF No. 1312)
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15          Presently before the Court is Sysco Corporation and US Food Inc.’s Objection to
16   Magistrate Judge Dembin’s July 23, 2018 Order, (“Obj.,” ECF No. 1312). Defendants
17   have filed an Opposition to the Objection, (“Opp’n,” ECF No. 1331) and Plaintiffs have
18   filed a Reply, (“Reply,” ECF No. 1352). After careful consideration of the Parties’
19   submissions, the record in this matter, and the applicable law, the Court OVERRULES
20   Sysco and US Food’s Objection.
21                                           BACKGROUND
22          On June 29, 2018, the Parties filed a Joint Motion for Determination of Discovery
23   Dispute, (ECF No. 1260), because Defendants sought to compel discovery of “[a]ll
24   [c]ommunications regarding Packaged Tuna between [a Plaintiff] and any . . . competing
25   food suppliers.” (Id. at 4.)1 Plaintiffs opposed this discovery request because their
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28    Pin citations to docketed material refer to the CM/ECF page numbers electronically stamped at the top
     of each page.

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 1   “communications with their competitors unrelated to the claims in this case are irrelevant
 2   to whether Defendants violated Section 1 of the Sherman Act.” (Id. at 2 (emphasis
 3   omitted).) On July 23, 2018, Magistrate Judge Mitchell Dembin issued an order that
 4   requires Plaintiffs to respond to Production No. 16 (Third Set). (“Discovery Order,” ECF
 5   No. 1293.) Plaintiffs then filed the present objection to Judge Dembin’s Order.
 6                                      LEGAL STANDARD
 7   I.    Review of Magistrate Judge’s Order
 8         A party may object to a non-dispositive pretrial order of a magistrate judge within
 9   fourteen days after service of the order. Fed. R. Civ. P. 72(a). The magistrate judge’s order
10   will be upheld unless it is “clearly erroneous or is contrary to law.” Id.; see 28 U.S.C.
11   § 636(b)(1)(A). The “clearly erroneous” standard of review applies to factual findings and
12   discretionary decisions made concerning nondispositive pretrial discovery. See F.D.I.C. v.
13   Fid. & Deposit Co. of Md., 196 F.R.D. 375, 378 (S.D. Cal. 2000). The “clearly erroneous”
14   standard is “significantly deferential, requiring a definite and firm conviction that a mistake
15   has been committed.” Concrete Pipe & Prods. of Cal., Inc., v. Constr. Laborers Pension
16   Tr. of S. Cal., 508 U.S. 602, 623 (1993) (internal quotation marks omitted).
17   II.   Discovery
18         Federal Rule of Civil Procedure 26 generally allows for broad discovery and
19   authorizes parties to obtain discovery regarding “any nonprivileged matter that is relevant
20   to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). Further, “[f]or good cause, the
21   court may order discovery of any matter relevant to the subject matter involved in the
22   action.” Id. Relevant information for discovery purposes includes any information
23   “reasonably calculated to lead to the discovery of admissible evidence,” and need not be
24   admissible at trial to be discoverable. Id. Relevance encompasses “any matter that bears
25   on, or that reasonably could lead to other matter that could bear on, any issue that is or may
26   be [presented] in the case.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978).
27   “District courts have broad discretion in determining relevancy for discovery purposes.”
28   Surfvivor Media, Inc. v. Survivor Prods., 406 F.3d 625, 635 (9th Cir. 2005) (citing Hallett

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 1   v. Morgan, 296 F.3d 732, 751 (9th Cir. 2002)).
 2         Courts must also weight the burden of the discovery sought with its likely benefit.
 3   District courts have broad discretion to limit discovery where the discovery sought is
 4   “unreasonably cumulative or duplicative, or can be obtained from some other source that
 5   is more convenient, less burdensome, or less expensive.” Fed. R. Civ. P. 26(b)(2)(C).
 6   Limits should be imposed where the burden or expense of the proposed discovery
 7   outweighs the likely benefits. Id.
 8                                           ANALYSIS
 9   I.    Relevance
10         Plaintiffs’ primary contention is that discovery concerning their own internal
11   communications is not relevant because “the case is not about how Plaintiffs conduct their
12   affairs in matters unrelated to their claims.” (Obj. 5.) Plaintiffs argue that the Supreme
13   Court’s decision in Kiefer-Stewart Co. v. Joseph E. Seagram & Sons, Inc., 340 U.S. 211
14   (1951), overruled on other grounds by Copperweld Corp. v. Independence Tube Corp.,
15   467 U.S. 752, 781–82 (1984), makes clear that an antitrust defendant cannot shield itself
16   from liability by raising allegedly similar behavior by the antitrust plaintiff. (Obj. 5.) From
17   this premise, Plaintiffs contend that Judge Dembin’s Order relied on an incorrect
18   assumption that antitrust defendants could raise a “they-did-it-too” defense. (Id.) Plaintiffs
19   also raise a public policy argument that permitting this type of discovery would discourage
20   antitrust plaintiffs from undertaking private enforcement of the antitrust laws. (See id. at
21   6.)
22         Defendants contend that Judge Dembin’s Order is consistent with opinions from
23   district courts in this Circuit that have considered identical issues and rejected arguments
24   identical to those Plaintiffs advance. (Opp’n 6.) Defendants contend that their discovery
25   request is relevant because it speaks to a highly probative issue in the case: whether a jury
26   should infer collusion based on innocuous competitor communications.              (Id. at 11.)
27   Defendants maintain that the discovery sought is not a “they-did-it-too” argument, but
28   rather a comparison that many businesses have legitimate reasons to communicate with

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 1   competitors. (Id. at 13.)
 2            In his Order, Judge Dembin found “Defendants’ theory is that Plaintiffs are elevating
 3   innocuous communications into an actionable conspiracy. If Plaintiffs engage in similar,
 4   legal communications, Defendants’ theory may be supported.” (Discovery Order 4.) He
 5   cited In re Cathode Ray Tube (CRT) Antitrust Litigation, 301 F.R.D. 449 (N.D. Cal. 2014),
 6   as on point and persuasive to the Kiefer-Stewart issue. (Discovery Order 3–4.) That case
 7   dealt with the same issue as Plaintiffs raise here: whether Kiefer-Stewart precludes all
 8   discovery into an antitrust plaintiff’s internal communications. See CRT, 301 F.R.D. at
 9   452. Kiefer-Stewart held that “the alleged illegal conduct of [a plaintiff] . . . could not
10   legalize the unlawful combination by [the defendants] nor immunize them against liability
11   to those they injured. 340 U.S. at 214 (citations omitted). The CRT court concluded,
12   however, that an antitrust plaintiff’s activities and communications are not always
13   irrelevant. CRT, 301 F.R.D. at 453. Indeed, as long as discovery is not being sought to
14   advance a “they-did-it-too” argument, then the information sought may be relevant for
15   other purposes. Id. (citing In re Polyester Staple Antitrust Litig., No. 3:03CV1516, 2005
16   WL 6457181, at *4–5 (W.D.N.C. May 9, 2005)).
17            The Supreme Court in Perma Life Mufflers, Inc. v. International Parts Corp., 392
18   U.S. 134 (1968), overruled on other grounds by Copperweld, 467 U.S. 752, explained the
19   purpose behind cases like Kiefer-Stewart. There, the Court dealt with whether the common
20   law doctrine of in pari delicto2 applied to bar an antitrust plaintiff from recovering damages.
21   Id. at 138. The Court stated, “[w]e have often indicated the inappropriateness of invoking
22   broad common-law barriers to relief where a private suit serves important public purposes.
23   It was for this reason that we held Kiefer-Stewart Co. v. Joseph E. Seagram & Sons, 340
24   U.S. 211, 71 S. Ct. 259, 95 L. Ed. 219 (1951), that a plaintiff in an antitrust suit could not
25   be barred from recovery by proof that he had engaged in an unrelated conspiracy to commit
26   some other antitrust violation.” Perma Life, 392 U.S. at 138. The motivating purpose
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         In pari delecto means “of equal fault.” Perma Life, 392 U.S. at 139.

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 1   behind Kiefer-Stewart and Perma Life is to allow an antitrust plaintiff to recover damages,
 2   even if that plaintiff engaged in “morally reprehensible” conduct. Id. at 139 (“Both
 3   Simpson [v. Union Oil Co., 377 U.S. 13 (1964)] and Kiefer-Stewart were premised on a
 4   recognition that the purposes of the antitrust laws are best served by insuring that the
 5   private action will be an ever-present threat to deter anyone contemplating business
 6   behavior in violation of the antitrust laws.”).
 7          The CRT court discussed the public policy implications, discussed in Perma Life and
 8   Kiefer-Stewart, of allowing discovery against an antitrust plaintiff in all instances. CRT,
 9   301 F.R.D. at 454. The court acknowledged that some situations may arise in which
10   “discovery sought would simply enable the defendant to shift attentions away from an
11   otherwise illegal and actionable scheme or assert an improper pass-on defense.” Id. Yet
12   the policy considerations were not implicated because the discovery was relevant to the
13   “question of how, and in what amount, any potential overcharges were passed through to
14   other plaintiffs.” Id. Thus, “permitting discovery here does not run the risk of chilling
15   private enforcement of the antitrust laws.” Id.
16          Here, Defendants contend that discovery is relevant because it contradicts one of
17   Plaintiffs’ theories: whether a jury should infer collusion based on innocuous competitor
18   communications. This is not an attention-shifting defense; rather, it seeks to counter
19   Plaintiffs’ theory of the case.3 See In re: Cathode Ray Tube (CRT) Antitrust Litig., No. C-
20   07-5944 JST, 2016 WL 6216664, at *5 (N.D. Cal. Oct. 25, 2016) (“CRT II”) (permitting
21   antitrust defendants to “introduce evidence of exchanges of competitive information
22   among the [direct action plaintiffs] and their competitors for the sole purpose of
23   demonstrating that not all communications and information exchanges are necessarily
24   illegitimate or illegal”). This purpose does not contradict the fundamental policy at issue
25   in Kiefer-Stewart and Perma Life. Defendants are not arguing that Plaintiffs should be
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      In their Reply brief, Plaintiffs contend that the CRT court was incorrect and failed to grapple with the
28   Kiefer-Stewart arguments presented by Plaintiffs here. (Reply 4.) Given the Court’s discussion of
     Kiefer-Stewart and Perma Life here, the CRT court’s logic is persuasive.

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 1   barred, as a matter of law, from recovery because of Plaintiffs’ own conduct. See Kiefer-
 2   Stewart, 340 U.S. at 214. Instead, Defendants seek discovery on a factual issue: using
 3   competitor communications to show that there are legitimate reasons to exchange
 4   information with competitors. (Opp’n 13–14.) They seek to persuade the finder of fact on
 5   what inferences to make (or not) based on competitor communications.
 6         Finally, Plaintiffs raise a series of potential scenarios where the parties may use the
 7   competitor communications to prove or disprove the proposition that such communications
 8   are “innocuous.” (Obj. 7–8; Reply 3.) Judge Dembin stated, “[i]t is not for this Court to
 9   determine whether the communications sought may be admissible and for what purpose.
10   The question is relevance.” (Discovery Order 3–4.) The Court agrees with Judge Dembin.
11   Plaintiffs’ hypotheticals are better suited for an admissibility determination before trial.
12   Considering both the broad scope of discovery and the deferential clearly erroneous
13   standard of review, Magistrate Judge Dembin did not err by concluding that the discovery
14   sought was relevant.
15   II.   Burden and Benefits of Discovery
16         Plaintiffs also contend that Judge Dembin’s Order is contrary to law because it did
17   not consider whether the discovery sought is proportional to the burden on the Plaintiffs.
18   Plaintiffs first contend that Judge Dembin should have weighed the likelihood the evidence
19   would be admitted at trial because the “more dubious the prospect of admissibility of the
20   documents at issue, the less justifiable the imposition of a discovery burden.” (Obj. 9.)
21   Next, Plaintiffs maintain that Judge Dembin ignored a declaration submitted by Plaintiffs
22   substantiating the burden likely involved in searching for and producing responsive
23   documents. (Id. at 10 (citing Declaration of Kyle Smith, ECF No. 1260-1).)
24         Defendants respond that Judge Dembin’s finding is supported by those of other
25   district courts in this Circuit that have compelled plaintiffs to produce their own competitor
26   communications.     (Opp’n 17.) Next, the declaration submitted by Plaintiffs merely
27   explains a standard document collection, review, and production process and should not be
28   dispositive considering that all Defendants in this case have engaged in multiple similar

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 1   document collections, reviews, and productions in response to Plaintiffs’ discovery
 2   requests. (Id. at 18.) Finally, Defendants contend that a discovery ruling is necessarily a
 3   balancing decision and Judge Dembin’s logic is sound. (Id.)
 4         Judge Dembin cited CRT II, where the district court admitted into evidence certain
 5   communications between antitrust plaintiffs. (Discovery Order 3 (citing CRT II, 2016 WL
 6   6216664, at *6).) Judge Dembin found that “the discovery sought is proportional as it
 7   bears directly on an asserted defense in the case.” (Id. at 4.) The Court agrees with Judge
 8   Dembin—CRT II is persuasive as to Plaintiffs’ admissibility argument. There, the court
 9   considered a motion in limine concerning evidence of the plaintiff’s competitor
10   communications. The court was persuaded that the defendants were not offering the
11   evidence to demonstrate that the plaintiffs violated antitrust laws. CRT II, 2016 WL
12   6216664, at *5. Instead, the court admitted the evidence, finding “information exchanges
13   among the [direct action plaintiffs] and their competitors is relevant and not unfairly
14   prejudicial so long as it is introduced to demonstrate that such information exchanges can
15   have a legitimate purpose.” Id. at *6 (footnote omitted) (citing In re Urethane Antitrust
16   Litig., MDL No. 1616, 2011 WL 1327988, at *6 (D. Kan. Apr. 5, 2011)). That reasoning
17   is sound and illustrates how similar evidence in this case could be admissible at trial. Thus,
18   the Court agrees with Judge Dembin that the discovery sought is proportional because it
19   bears directly on an asserted defense in this case.
20         Plaintiffs submitted a declaration substantiating the burden this discovery will have
21   on their counsel and business personnel. (ECF No. 1260-1.) The declaration states that
22   there would be two tasks to meet the discovery request. The first task will take at least
23   twenty hours of outside counsel time and “numerous hours” of in-house and business
24   personnel time. (Id. at 5.) The second task will require “many hours” to complete and will
25   result in “many gigabytes of electronic data.” (Id.) The Court acknowledges this burden,
26   but Plaintiffs’ rely too heavily on a declaration that does not quantify a disproportionate
27   burden. References to “many hours” and “many gigabytes” do not support a conclusion
28   that Judge Dembin’s decision was clearly erroneous. Balancing discovery requests and

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 1   weighing the burdens are tasks that magistrate judges routinely decide. Judge Dembin
 2   cited case law directly on point to Plaintiffs’ issue and his reasoning is sound. The Court
 3   finds Judge Dembin’s Order is not clearly erroneous.
 4                                       CONCLUSION
 5         For the foregoing reasons, the Court OVERRULES Plaintiffs’ objection to Judge
 6   Dembin’s Order.
 7         IT IS SO ORDERED.
 8   Dated: September 10, 2018
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